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12       Attorneys for Defendant
         Winecup Gamble, Inc.
13
                                             UNITED STATES DISTRICT COURT
14
                                                 DISTRICT OF NEVADA
15
         UNION PACIFIC RAILROAD COMPANY, a                      Case No. 3:17-cv-00477-LRH-VPC
                                                                                           CLB
16       Delaware Corporation,
                                                                STIPULATION AND ORDER FOR
17
                                Plaintiff,                      EXTENSION OF TIME FOR
18                                                              DEFENDANT WINECUP GAMBLE,
                  v.                                            INC. TO RESPOND TO PLAINTIFF’S
19                                                              19TH AND 20TH MOTIONS IN LIMINE
         WINECUP GAMBLE, INC., a Nevada
20       Corporation,                                           (FIRST REQUEST)
21                              Defendant.
22
                  Pursuant to LR II 7-1 and LR IA 6-1, Plaintiff Union Pacific Railroad Company and
23       Defendant Winecup Gamble, Inc. hereby stipulate and agree that Winecup may have an extension
24       of three days to file its response to Union Pacific’s 19th Motion in Limine and 20th Motion in

25       Limine. Union Pacific filed both motions on June 2, 2020. Winecup’s responses are currently due
         on June 16, 2020. This extension will make the responses due on June 19, 2020.
26
                  The parties represent this stipulation is made in good faith and not for the purpose of
27
         delay. These two motions in limine are not part of the briefing schedule set in ECF No. 147. As
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 1   such, Winecup has not previously applied for any extensions of time related to these motions in
 2   limine.

 3             Accordingly, the parties request the Court order the deadline for Winecup to respond to
     Union Pacific’s 19th Motion in Limine and 20th Motion be extended three days to June 19, 2020.
 4

 5   DATED: June 15, 2020                                  DATED: June 15, 2020

 6
     /s/ Michael R. Menssen                                /s/ Riley C. Mendoza (with permission)
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13                                                         Attorneys for Plaintiff
     Attorneys for Defendant                               Union Pacific Railroad Company
14   Winecup Gamble, Inc.
15

16

17
                                                   ORDER
18
     IT IS SO ORDERED:
19

20   DATED this 16th day of June, 2020.

21   ________________________________________
     UNITED STATE DISTRICT JUDGE
22   _________________________________
     LARRY R. HICKS
23   Dated:____________________________
     UNITED  STATES DISTRICT JUDGE
24

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